     Case 09-69160-jrs        Doc 19-2 Filed 06/18/09 Entered 06/18/09 14:06:09                     Desc Ntc.
                                   Re: DSO Obligations Page 1 of 1

                                  UNITED STATES BANKRUPTCY COURT
                                       Northern District of Georgia
                                            Atlanta Division



In Re: Debtor(s)
       Brian Thomas Crooks                                Case No.: 09−69160−reb
       90 Fairlie St.                                     Chapter: 13
       Unit 203
       Atlanta, GA 30303

       xxx−xx−2280

       Beth Haynes
       90 Fairlie St.
       Unit 203
       Atlanta, GA 30383

       xxx−xx−3967

                                 NOTICE TO CHAPTER 13 DEBTOR
                            REGARDING DOMESTIC SUPPORT OBLIGATIONS



      If you now have a domestic support obligation (an obligation to pay alimony, maintenance or support of your
spouse, former spouse, child or parent of your child (see 11 U.S.C. § 101(14A) for further explanation)) or if during
this case, a domestic support obligation is imposed upon you then, in order to receive your discharge, you must be
current (up−to−date) on all the payments for your domestic support obligation that:(1) came due before you filed
your bankruptcy petition and your Chapter 13 plan required you to pay, and (2) came due after you filed your
bankruptcy petition. See 11 U.S.C. § 1328(a). Before you receive your discharge you will be required to certify under
penalty of perjury that payments on your domestic support obligations are up−to−date by filing a Debtor's 11 U.S.C.
§ 1328 cetificate. The Chapter 13 Trustee will provide a copy of this Certificate after you have completed all
payments on your confirmed Plan. IF YOU DO NOT FILE THIS CERTIFICATE YOU WILL NOT RECEIVE
A DISCHARGE AND THE CASE WILL BE CLOSED.

    This Notice will be served upon Debtor and counsel for Debtor.

June 18, 2009
Date




                                                          W. Yvonne Evans
                                                          Clerk of Court
                                                          U. S. Bankruptcy Court



Form 427
